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             EXHIBIT B
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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

LAS AMERICAS IMMIGRANT
ADVOCACY CENTER, et al.,

        Plaintiffs,

v.                                                            Civil Action No. 25-0418

KRISTI NOEM
Secretary of Homeland Security, et al.,

        Defendants.



                                 DECLARATION OF JUAN AGUDELO
         I, Juan Agudelo, declare the following under 28 U.S.C. § 1746, and state that under
  penalty of perjury the following is true and correct to the best of my knowledge and belief:
  1. I am employed by U.S. Department of Homeland Security (DHS), U.S. Immigration and
      Customs Enforcement (ICE), Enforcement and Removal Operations (ERO), as the Deputy
      Field Office Director (DFOD). I have held this position since October 23, 2022. From
      January 13, 2025, I began serving as the Acting Field Office Director ((A)FOD). As
      (A)FOD, I am responsible for the oversight of the ERO Miami Area of Responsibility
      (AOR). At the Miami Field Office, I manage ERO personnel and provide oversight of ICE
      operations in detention facilities. My responsibilities include overseeing ERO enforcement
      operations as well as detention facility operations within the Miami AOR.
  2. I provide this declaration based on my personal knowledge, reasonable inquiry, and
      information obtained from various records, systems, databases, other DHS employees, and
      information portals maintained and relied upon by DHS in the regular course of business.
  3. I am aware that this litigation, Las Americas Immigrant Advocacy Ctr. v. Noem, 1:25-cv-
      00418 (D.D.C. filed Feb. 12, 2025), has been filed in the U.S. District Court for the District
      of Columbia.
  4. I am familiar with the facts and circumstances regarding the immigration proceedings and



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    current custody status of Tilso Ramon Gomez Lugo, Yoiker David Sequera, and Luis Alberto
    Castillo Rivera, detained aliens who are family members of Petitioners claiming next friend
    standing.
Tilso Ramon Gomez Lugo (Gomez Lugo)
5. Gomez Lugo is a 38-year-old, native and citizen of Venezuela.
6. On or about April 9, 2024, Gomez Lugo was encountered by a Border Patrol Agent in the El
    Paso Border Patrol sector in El Paso, Texas, after he had unlawfully entered the United States
    from Mexico. Gomez Lugo was processed for expedited removal pursuant to section 8
    U.S.C. § 1225.
7. Gomez Lugo was placed in ICE custody pursuant to 8 U.S.C. § 1225(b).
8. On May 7, 2024, DHS served Gomez Lugo a Notice to Appear (NTA) charging him as
    inadmissible pursuant to 8 U.S.C. §§ 1182(a)(7)(A)(i)(I) and 1182(a)(6)(A)(i), as an alien not
    in possession of valid immigration documents and as an alien present in the United States
    without being admitted or paroled.
9. On November 25, 2024, an immigration judge from the detained El Paso Service Processing
    Center Immigration Court denied Gomez Lugo relief from removal and ordered Gomez Lugo
    removed to Venezuela.
10. Gomez Lugo waived his right to appeal the immigration judge’s decision, and his removal
    order became final on November 25, 2024.
11. Gomez Lugo was not represented by counsel during his immigration removal proceedings.
12. On or about February 4, 2025, Gomez Lugo was transferred to Camp VI at the U.S. Naval
    Station Guantanamo Bay (NSGB) in Guantanamo Bay, Cuba to stage him for removal to
    Venezuela.
13. On February 17, 2025, Gomez Lugo was given access to speak to legal counsel at the request
    of the ACLU.
14. Gomez Lugo is a suspected associate of the transnational criminal organization “Tren de
    Aragua,” which the United States designated as a specially designated global terrorist
    organization by Federal Register Notice on February 20, 2025. Gomez Lugo is deemed a



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    threat to public safety and a flight risk.
15. Gomez Lugo is likely to be removed to Venezuela in the near future.
16. On February 18, 2025, DHS declined to exercise its discretion to stay the removal of Gomez
    Lugo.
Yoiker David Sequera (Sequera)
17. Sequera is a 25-year-old, native and citizen of Venezuela.
18. On or about July 13, 2022, Sequera was encountered by a Border Patrol Agent in Eagle Pass,
    Texas after he had unlawfully entered the United States from Mexico.
19. Sequera was served an NTA on July 16, 2022, charging him as inadmissible pursuant to 8
    U.S.C. § 1182(a)(6)(A)(i), as an alien present in the United States without being admitted or
    paroled.
20. Sequera was released on his own recognizance and instructed to report to the Alternative to
    Detention (ATD) officers. Sequera was provided with an ankle bracelet as part of the ATD
    program, and he subsequently removed it. Sequera was deemed an absconder by DHS.
21. Sequera is believed to have departed the United States at an unknown date and at an
    unknown time.
22. On or about September 11, 2024, Sequera was encountered by a Border Patrol Agent in
    Presidio, Texas after he had unlawfully entered the United States from Mexico.
23. On September 16, 2024, Sequera was convicted of illegal entry, in violation of 8 U.S.C. §
    1325(a)(1), and sentenced to an imprisonment term of time served.
24. On or about September 19, 2024, Sequera was placed in ICE custody pursuant to 8 U.S.C. §
    1226(a).
25. On January 6, 2025, an immigration judge from the detained El Paso Service Processing
    Center Immigration Court denied Sequera relief from removal and ordered Sequera removed
    to Venezuela.
26. Sequera waived his right to appeal the immigration judge’s decision, and his removal order
    became final on January 6, 2025.
27. Sequera was not represented by counsel during his immigration removal proceedings.



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28. On or about February 9, 2025, Sequera was transferred to the Migrant Operations Center at
    the NSGB in Guantanamo Bay, Cuba to stage him for removal to Venezuela.
29. On February 17, 2025, Sequera was given access to speak to legal counsel at the request of
    the ACLU.
30. Sequera is a known absconder from the ATD program and was convicted of illegal entry into
    the United States and is deemed a flight risk.
31. Sequera is likely to be removed to Venezuela in the near future.
32. On February 18, 2025, DHS declined to exercise its discretion to stay the removal of
    Sequera.
Luis Alberto Castillo Rivera (Castillo Rivera)
33. Castillo Rivera is 29-year-old, native and citizen of Venezuela.
34. On or about January 19, 2025, Castillo Rivera presented himself to the Paso del Norte Port of
    Entry in El Paso, Texas. Castillo Rivera was processed for expedited removal pursuant to
    section 8 U.S.C. § 1225.
35. Castillo Rivera was placed in ICE custody pursuant to 8 U.S.C. § 1225(b), under an
    expedited removal order issued by DHS, without the need for further hearing or review.
36. These expedited removal proceedings do not involve an immigration judge unless there is a
    reason to refer the case to an immigration judge. In Castillo Rivera’s case, there was no
    reason to refer him to an immigration judge. Thus, Castillo Rivera was placed in ICE custody
    for the execution of his final expedited order of removal under 8 U.S.C. § 1225.
37. On or about February 4, 2025, Castillo Rivera was transferred to Camp VI at the NSGB in
    Guantanamo Bay, Cuba to stage him for removal to Venezuela.
38. On February 17, 2025, Castillo Rivera was given access to speak to legal counsel at the
    request of the ACLU.
39. Castillo Rivera is a suspected associate of the transnational criminal organization “Tren de
    Aragua,” which the United States designated as a specially designated global terrorist
    organization by Federal Register Notice on February 20, 2025. Castillo Rivera is deemed a
    threat to public safety and flight risk.



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40. Castillo Rivera is likely to be removed to Venezuela in the near future.
41. On February 18, 2025, DHS declined to exercise its discretion to stay the removal of Castillo
   Rivera.


  I declare, under penalty of perjury that the foregoing is true and correct to the best of my

  knowledge, information, and belief, as of the time of signature.



Executed this day of February, 2025.
                                              Digitally signed by JUAN E
                             JUAN E           AGUDELO
                                              Date: 2025.02.20 11:34:09
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                              Juan Agudelo
                              Acting Field Office Director
                              Enforcement and Removal Operations
                              U.S. Immigration and Customs Enforcement
                              U.S. Department of Homeland Security




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